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@NITED STATES OF AMERICA

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UNITED STATES DISTRICT COURT

FoR THE CENTRAL D:STRICT oF CALIFQRN:A

 

 

 

 

" 7 SoUTHERN DIV:SION
UL§IJ§TED'::§STAT'ES OF AMERICA, No. SA CR 16~
g; B“ :
Plaintiff, PLEA AGREEMENT FOR DEFENDANT
LINDA MARTIN
V_ ___‘“,
LINDA MARTIN,
[UNDER SEAL]
Defendant.
1. This constitutes the plea agreement between LINDA MARTIN

(“defendant”) and the United Statee Attorney'e Office for the
Central Dietrict of California (“the USAO”) in the above-captioned
caee. Thie agreement is limited to the USAO and Cannot bind any
other federal, etate, local, or foreign proeecuting, enforcement,

administrative, or regulatory authoritiee.
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DEFENDANT ’ S OBLIGATIONS

 

2. Defendant agrees to:

a) Give up the right to indictment by a grand jury and,
at the earliest opportunity requested by the USAO and provided by
the Court, appear and plead guilty to a one~count criminal
Information in the form attached to this agreement as Exhibit A or a
substantially similar form, which charges defendant with Conspiracy
in violation of 18 U.S.C. § 371.

b) Not contest facts agreed to in this agreement.

c) Abide by all agreements regarding sentencing
contained in this agreement.

d) Appear for all court appearances, surrender as
ordered for service of sentence, obey all conditions of any bond,
and obey any other ongoing court order in this matter.

ej Not commit any crime; however, offenses that would be
excluded for sentencing purposes under United States Sentencing
Guidelines (“U.S.S.G.” or “Sentencing Guidelines”) § 4Al.2(c) are
not within the scope of this agreement.

f) Be truthful at all times with Pretrial Services, the
United States Probation Office, and the Court.

g) Pay the applicable special assessments at or before
the time of sentencing unless defendant lacks the ability to pay and
prior to sentencing submits a completed financial statement on a
form to be provided by the USAO.

3. Defendant further agrees:
a) Truthfully to disclose to law enforcement officials,

at a date and time to be set by the USAO, the location of,

'defendant's ownership interest in, and all other information known

 

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to defendant about, all monies, properties, and/or assets of any
kind, derived from or acquired as a result of, or used to facilitate
the commission of, defendant's illegal activities, and to forfeit
all right, title, and interest in and to such items.

b) To the Court’s entry of an order of forfeiture at or
before sentencing with respect to these assets and to the forfeiture
of the assets.

c) To take whatever steps are necessary to pass to the
United States clear title to the assets described above, including,
without limitation, the execution of a consent decree of forfeiture
and the completing of any other legal documents required for the
transfer of title to the United States.

d) Not to contest any administrative forfeiture
proceedings or civil judicial proceedings commenced by the United
States of America against these properties.

e) Not to assist any other individual in any effort
falsely to contest the forfeiture of the assets described above.

f) Not to claim that reasonable cause to seize the
assets was lacking.

g) To prevent the transfer, sale, destruction, or loss
of any and all assets described above to the extent defendant has
the ability to do so.

h) To fill out and deliver to the USAO a completed`
financial statement listing defendant's assets on a form provided by
the USAO.

4. Defendant further agrees to cooperate fully with the USAO,
the Federal Bureau of Investigation, the United States Postal

Service - Office of Inspector General, the Internal Revenue Service,

 

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and, as directed by the USAO, any other federal, state, local, or
foreign prosecuting, enforcement, administrative, or regulatory
authority. This cooperation requires defendant to:

a) Respond truthfully and completely to all questions
that may be put to defendant, whether in interviews, before a grand
jury, or at any trial or other court proceeding.

b) Attend all meetings, grand jury sessions, trials or
other proceedings at which defendant’s presence is requested by the
USAO or compelled by subpoena or court order.

c) Produce voluntarily all documents, records, or other
tangible evidence relating to matters about which the USAO, or its
designee, inquires.

5. For purposes of this agreement: (1) ”Cooperation
Information” shall mean any statements made, or documents, records,
tangible evidence, or other information provided, by defendant
pursuant to defendant's cooperation under this agreement; and
(2) ”Plea Information” shall mean any statements made by defendant,
under oath, at the guilty plea hearing and the agreed to factual
basis statement in this agreement.

THE USAO'S OBLIGATIONS

 

6. The USAO agrees to:
a) Not contest facts agreed to in this agreement.
b) Abide by all agreements regarding sentencing

contained in this agreement.
c) At the time of sentencing, provided that defendant
demonstrates an acceptance of responsibility for the offense up to

and including the time of sentencing, recommend a two-level

reduction in the applicable Sentencing Guidelines offense level,

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pursuant to U.S.S.G. § 3E1.1, and recommend and, if necessary, move
for an additional one-level reduction if available under that
section.

d) Except for criminal tax violations (including
conspiracy to commit such violations chargeable under 18 U.S.C.

§ 371), not further criminally prosecute defendant for violations
arising out of defendant's conduct described in the agreed-to
factual basis set forth in paragraph 19 below, or any other conduct
relating to Pacific Hospital of Long Beach or Pacific Specialty
Physician Management. Defendant understands that the USAO is free
to criminally prosecute defendant for any other unlawful past
conduct or any unlawful conduct that occurs after the date of this
agreement. Defendant agrees that at the time of sentencing the
Court may consider the uncharged conduct in determining the
applicable Sentencing Guidelines range, the propriety and extent of
any departure from that range, and the sentence to be imposed after
consideration of the Sentencing Guidelines and all other relevant
factors under 18 U.S.C. § 3553(a).

7. The USAO further agrees:

a) Not to offer as evidence in its case-in-chief in the
above-captioned case or any other criminal prosecution that may be
brought against defendant by the USAO, or in connection with any
sentencing proceeding in any criminal case that may be brought
against defendant by the USAO, any Cooperation lnformation.
Defendant agrees, however, that the USAO may use both Cooperation
Information and Plea Information: (1) to obtain and pursue leads to
other evidence, which evidence may be used for any purpose,

including any criminal prosecution of defendant; (2) to cross-

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examine defendant should defendant testify, or to rebut any evidence
offered, or argument or representation made, by defendant,
defendant's counsel, or a witness called by defendant in any trial,
sentencing hearing, or other court proceeding; and (3) in any
criminal prosecution of defendant for false statement, obstruction
of justice, or perjury.

b) Not to use Cooperation Information against defendant
at sentencing for the purpose of determining the applicable
guideline range, including the appropriateness of an upward
departure, or the sentence to be imposed, and to recommend to the
Court that Cooperation Information not be used in determining the
applicable guideline range or the sentence to be imposed. Defendant
understands, however, that Cooperation Information will be disclosed
to the probation office and the Court, and that the Court may use
Cooperation Information for the purposes set forth in U.S.S.G
§ 1B1.8(b) and for determining the sentence to be imposed.

c) In connection with defendant's sentencing, to bring
to the Court's attention the nature and extent of defendant's
cooperation.

l d) If the USAO determines, in its exclusive judgment,
that defendant has both complied with defendant's obligations under
paragraphs 2 through 4 above and provided substantial assistance to
law enforcement in the prosecution or investigation of another
(“substantial assistance”), to move the Court pursuant to U.S.S.G.

§ 5K1.1, to fix an offense level and corresponding guideline range
below that otherwise dictated by the sentencing guidelines, and to

recommend a term of imprisonment within this reduced range,

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DEFENDANT'S UNDERSTANDINGS REGARDING COOPERATION

 

'8. Defendant understands the following:

a) Any knowingly false or misleading statement by
defendant will subject defendant to prosecution for false statement,
obstruction of justice, and perjury and will constitute a breach by
defendant of this agreement.

b) Nothing in this agreement requires the USAO or any
other prosecuting, enforcement, administrative, or regulatory
authority to accept any cooperation or assistance that defendant may
offer, or to use it in any particular way.

c) Defendant cannot withdraw defendant's guilty plea if
the USAO does not make a motion pursuant to U.S.S.G. § BKl.l for a
reduced guideline range or if the USAO makes such a motion and the
Court does not grant it or if the Court grants such a USAO motion
but elects to sentence above the reduced range.

d) At this time the USAO makes no agreement or
representation as to whether any cooperation that defendant has
provided or intends to provide constitutes or will constitute
substantial assistance. The decision whether defendant has provided
substantial assistance will rest solely within the exclusive
judgment of the USAO.

e) The USAO's determination whether defendant has
provided substantial assistance will not depend in any way on
whether the government prevails at any trial or court hearing in
which defendant testifies or in which the government otherwise

presents information resulting from defendant's cooperation.

 

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NATURE OF THE OFFENSE

 

9. Defendant understands that for defendant to be guilty of
the crime charged in count one of the lnformation, that is,
Conspiracy, in violation of Title 18, United States Code, Section
371, the following must be true: (1) Beginning at least in or
around September 2010 and continuing through at least in or around
February 2013, there was an agreement between two or more persons to
commit a violation of Title 18, United States Code, Sections 1341
and 1346 (Mail Fraud and Honest Services Mail Fraud); Title 18,
United States Code, Section 1952(a)(3) CInterstate Travel in Aid of
a Racketeering Enterprise); Title 18, United States Code, Section
1957 (Monetary Transactions in Property Derived from Specified

Unlawful Activity); and Title 42, United States Code, Section 1320a-

'7b(b)(2)(A) (Payment or Receipt of Kickbacks in Connection with a

Federal Health Care Program); (2) defendant became a member of the
conspiracy knowing of at least one of its objects and intending to
help accomplish it; and (3) one of the members of the conspiracy
performed at least one overt act for the purpose of carrying out the
conspiracy.

10. Defendant understands that Mail Fraud, in violation of
Title 18, United States Code, Section 1341, has the following
elements: (1) the defendant knowingly devised or participated in a
scheme or plan to defraud, or a scheme or plan for obtaining money
or property by means of false or fraudulent pretenses,
representations or promises; (2) the statements made or facts
omitted as part of the scheme were material, that is, they had a
natural tendency to influence, or were capable of influencing, a

person to part with money or property; (3) the defendant acted with

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the intent to defraud; and (4) the defendant used, or caused to be
used, the mails to carry out or attempt to carry out an essential
part of the scheme. Defendant further understands that Honest
Services Mail Fraud, in violation of Title 18, United States Code,
Section 1346, has the following elements: (1) the defendant devised
or participated in a scheme or plan to deprive a patient of his or
her right to honest services; (2) the scheme or plan consisted of a
bribe or kickback in exchange for medical services; (3) a medical
professional person owed a fiduciary duty to the patient; (4) the
defendant acted with the intent to defraud by depriving the patient
of his or her right of honest services; (5) the defendant's act was
material, that is, it had a natural tendency to influence, or was
capable of influencing, a person's acts; and (6) the defendant used,
or caused someone to use, the mails to carry out or attempt to carry
out the scheme or plan.

11. Defendant understands that Interstate Travel in Aid of a
Racketeering Enterprise, in violation of Title 18, United States
Code, Section 1952(a)(3), has the following elements: (1) defendant
used the mail or a facility of interstate commerce with the intent
to promote, manage, establish, or carry on, or facilitate the
promotion, management, establishment, or carrying on, of unlawful
activity, specifically payment and receipt of kickbacks in violation
of California Business & Professions Code § 650, California
Insurance Code § 750, and California Labor Code § 3215; and (2)
after doing so, defendant performed or attempted to perform an act
to promote, manage, establish, or carry on, or facilitate the
promotion, management, establishment, or carrying on, of such

unlawful activity.

 

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12. Defendant understands that Money Laundering, in violation
of Title 18, United States Code, Section 1957, has the following
elements: (1) the defendant knowingly engaged or attempted to
engage in a monetary transaction; (2) the defendant knew the
transaction involved criminally derived property; (3) the property
had a value greater than $10,000; (4) the property was, in fact,
derived from mail fraud; and (5) the transaction occurred in the
United States.

13. Defendant understands that Payment of kickbacks in
Connection with a Federal Health Care Program, in violation of 42
U.S.C. § 1320a-7b(b)(2)(A), has the following elements: (1)
defendant knowingly and willfully paid remuneration, directly or
iindirectly, in cash or in kind, to another person; (2) the
remuneration was given to induce that person to refer an individual
for the furnishing or arranging for the furnishing of any item or
service for which payment may be made in whole or in part under a
Federal health care program; and (3) defendant knew that such
payment of remuneration was illegal.

PENALTIES AND RESTITUTION

 

14. Defendant understands that the total statutory maximum
sentence that the Court can impose for a violation of litle 18,
United States Code, Section 371, is: 5 years imprisonment; a 3-year
period of supervised release; a fine of $250,000 or twice the gross
_gain or gross loss resulting from the offense, whichever is
greatest; and a mandatory special assessment of $100.

15. Defendant understands that supervised release is a period
of time following imprisonment during which defendant will be

subject to various restrictions and requirements. Defendant

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understands that if defendant violates one or more of the conditions
of any supervised release imposed, defendant may be returned to
prison for all or part of the term of supervised release authorized
by statute for the offense that resulted in the term of supervised
release, which could result in defendant serving a total term of
imprisonment greater than the statutory maximum stated above.

16. Defendant understands that, by pleading guilty, defendant
may be giving up valuable government benefits and valuable civic
rights, such as the right to vote, the right to possess a firearm,
the right to hold office, and the right to serve on a jury.
Defendant understands that once the court accepts defendant's guilty
plea, it will be a federal felony for defendant to possess a firearm
or ammunition. Defendant understands that the conviction in this
case may also subject defendant to various other collateral
consequences, including but not limited to revocation of probation,
parole, or supervised release in another case and suspension or
revocation of a professional license. Defendant understands that
unanticipated collateral consequences will not serve as grounds to
withdraw defendant's guilty plea.

17. Defendant understands that, if defendant is not a United
States citizen, the felony conviction in this case may subject
defendant to: removall also known as deportation, which may, under
some circumstances, be mandatory; denial of citizenship; and denial
of admission to the United States in the future. The court cannot,
and defendant's attorney also may not be able to, advise defendant
fully regarding the immigration consequences of the felony

convictions in this case. Defendant understands that unexpected

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immigration consequences will not serve as grounds to withdraw
defendant's guilty plea.

18. Defendant understands that defendant will be required to
pay full restitution to the victims of the offense to which
defendant is pleading guilty. Defendant agrees that, in return for
the USAO's compliance with its obligations under this agreement, the
Court may order restitution to persons other than the victims of the
offense to which defendant is pleading guilty and in amounts greater
than those alleged in the count to which defendant is pleading
guilty. ln particular, defendant agrees that the Court may order
restitution to any victim of any of the following for any losses
suffered by that victim as a result: (a) any relevant conduct, as
defined in U.S.S.G. § lB1.3, in connection with the offense to which
defendant is pleading guilty; and (b) any charges not prosecuted
pursuant to this agreement as well as all relevant conduct, as
defined in U.S.S.G. § lBl.3, in connection with those counts and
charges. The parties currently believe that the amount of
restitution is approximately $9.5 million, but agree that that
amount could change based on information the parties obtain before
sentencing.

FACTUAL BASIS

19. Defendant admits that defendant is, in fact, guilty of the
offense to which defendant is agreeing to plead guilty. Defendant
and the USAO agree to the statement of facts provided below and
agree that this statement of facts is sufficient to support a plea
of guilty to the charges described in this agreement and to
establish the Sentencing Guidelines factors set forth in paragraph

21 below, but is not meant to be a complete recitation of all facts

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relevant to the underlying criminal conduct or all facts known to
either party that relate to that conduct.

Healthsmart Pacific lnc., doing business as Pacific Hospital of
Long Beach (“Pacific Hospital”), was a hospital located in Long
Beach, California, specializing in surgeries, particularly spinal
and orthopedic surgeries, From at least in or around 1997 to
October 2013, Pacific Hospital was owned and/or operated by Michael
D. Drobot and other co-conspirators.

Specifically, from in or around September 2010 and to in or
around February 2013, in Orange and Los Angeles Counties, within the
Central District of California, and elsewhere, defendant, together
with other co-conspirators known and unknown to the United States
Attorney, knowingly combined, conspired, and agreed to commit the
following offenses against the United States: Mail Fraud and Honest
Services Mail Fraud, in violation of Title 18, United States Code,
Sections 1341 and 1346; Interstate Travel in Aid of a Racketeering
Enterprise, in violation of Title 18, United States Code, Section
1952(a)(3); Monetary Transactions in Property Derived from Specified
Unlawful Activity, in violation of Title 18, United States Code,
Section 1957; and Payment or Receipt of Kickbacks in Connection with
a Federal Health Care Program, in violation of Title 42, United
States Code, Section 1320a-7b(b)(2)(A).

Specifically, from in or around September 2010 to in or around
February 2013, defendant conspired with Drobot, other hospital
employees, dozens of doctors, chiropractors, marketers, and others
to pay kickbacks in return for the referral of hundreds of patients
to Pacific Hospital for spinal surgeries and other medical services

paid for primarily through the California Workers’ Compensation

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System (“CWCS”) and the Federal Employees' Compensation Act
(“FECA”). To channel the kickback payments, the co-conspirators
often used Drobot’s company Pacific Specialty Physician Management,
Inc. (“PSPM”). In addition, the co-conspirators used Drobot's own
company, lnternational Implants (“12”), located in Newport Beach,
California, for medical hardware to be used in spinal surgeries in
order to obtain a larger kickback payment for each surgery. In
paying the kickbacks, and submitting the resulting claims for spinal
surgeries and medical services and hardwarey defendant and her co-
conspirators acted with the intent to defraud workers' compensation
insurance carriers and to deprive the patients of their right of
honest services.

Defendant was a marketer for Pacific Hospital. As a marketer
for Pacific Hospital, defendant recruited chiropractors, physicians,
additional marketers, and others (the “kickback recipients”) to
refer workers' compensation patients to Pacific Hospital for spinal
surgeries, other types of surgeries, toxicology, and other services,
to be paid through FECA and the CWCS.

Influenced by the promise of kickbacks, kickback recipients
referred patients insured through the CWCS and the FECA to Pacific
Hospital for spinal surgeries, other types of surgeries, and other
medical services. The patients were not informed that the medical
professionals had been offered kickbacks to induce them to refer the
surgeries to Pacific Hospital.

Pursuant to the kickback agreements, kickback recipients
referred patients to Pacific Hospital.

Pacific Hospital submitted claims, by mail and electronically,

to workers' compensation insurance carriers for payment for the

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surgeries and other medical services. As defendant and her co-
conspirators knew, federal and California law prohibited paying or
receiving the aforementioned kickbacks for the referral of patients
for medical services. Defendant and her co-conspirators also knew
that the insurance carriers would be unwilling to pay claims for
medical services that were obtained through such illegal kickbacks.
However, defendant's co-conspirators deliberately did not disclose
to the insurance carriers the kickbacks,

Further, to conceal the illegal kickback payments from the
workers' compensation insurance carriers and patients, defendant's
co-conspirators entered into bogus contracts with the kickback
recipients under which the kickback recipients purported to provide
services to, or receive services from, Drobot's companies to justify
the kickback payments, The services and other items of value
discussed in those contracts were, in fact, provided at highly
inflated prices, if they were provided at all. The compensation to
the kickback recipients was actually based on the number and type of
surgeries they referred to the hospital. Defendant helped Drobot
and other co-conspirators to establish and maintain kickback
relationships disguised under various agreements.

For example, under a lease agreement, PSPM or Pacific Hospital
would lease or sublease office space from a doctor, but use only a
limited portion of the space for their own activities. Instead,
payments to doctors under the lease agreements were kickback
payments in disguise, designed to incentivize surgery referrals to
Pacific Hospital. Similarly, under a management agreement, PSPM
assumed financial responsibility for a doctor's office expenses and

paid a doctor a fixed percentage of the total amounts collected from

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insurance for his services, in return for the right to keep the rest
of those insurance proceeds as its purported management fee.
However, PSPM typically lost money on these arrangements, because
the amounts paid to doctors were more than the net insurance
proceeds. In reality, the payments made to doctors under these
management agreements were rewards for referring patients to Pacific
Hospital.

Defendant and her co-conspirators kept records of the number of
surgeries and other medical services performed at Pacific Hospital
due to referrals from kickback recipients, the amounts collected
from insurance carriers for those services, and the amounts paid to
kickback recipients for those referrals. Periodically, defendant's
co-conspirators amended the bogus contracts with the kickback
recipients to increase or decrease the amount of agreed compensation
described in the contracts, in order to match the amount of
kickbacks paid or promised in return for referrals.

From in or around September 2010 to in or around February 2013,
Pacific Hospital billed workers' compensation insurance carriers
approximately $255 million in claims for several thousand spinal
surgeries that were the result of the payment of kickbacks; and
defendant and other co-conspirators paid kickback recipients between
approximately $9.5 million and $25 million in kickbacks relating to
those claims.

In furtherance of the conspiracy and to accomplish the objects
of the conspiracy, defendant and other co-conspirators committed
various overt acts within the Central District of California,

including but not limited to the following:

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Overt Act No. 1

On or about September 21, 2010, defendant, on behalf of her
company Orchid Medical Management, lnc. (“Orchid”), and Michael
Tichon, on behalf of HealthSmart Corporate, entered into a contract
under which HealthSmart Corporate would pay Orchid $12,500 per month
for consulting and business development services.

Overt Act No. 2

On or about December 15, 2010, defendant sent to Drobot an
email offering to introduce him to Chiropractor A, who was willing
to enter into a management agreement with Drobot and refer patients
to whichever doctors Drobot chose, and also reporting that Doctor A
had scheduled a spine surgery at Pacific Hospital.

Overt Act No. 3

On or about December 17, 2010, defendant sent to Drobot an
email offering to introduce him to Physical Therapist A, who managed
surgeons' practices and who was willing to refer patients to Pacific
Hospital for surgeries in return for payments,

Overt Act No. 4

On or about April 12, 2011, defendant sent to Tichon an email
forwarding a list of patients referred to Pacific Hospital by Doctor
B, and suggesting that Drobot switch from paying doctors in advance
for surgery referrals to paying them only after they provided
documentation that the referral took place.

Overt Act No. 5

On or about May 25, 2011, Drobot increased defendant's monthly
salary for her marketing services from $12,500 per month to $15,000

per month.

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SENTENCING FACTORS

 

20. Defendant understands that in determining defendant's
sentence the Court is required to calculate the applicable v
Sentencing Guidelines range and to consider that range, possible
departures under the Sentencing Guidelines, and the other sentencing
factors set forth in 18 U.S.C. § 3553(a). Defendant understands
that the Sentencing Guidelines are advisory only, that defendant
cannot have any expectation of receiving a sentence within the
calculated Sentencing Guidelines range, and that after considering
the Sentencing Guidelines and the other § 3553(a) factors, the Court
will be free to exercise its discretion to impose any sentence it
finds appropriate up to the maximum set by statute for the crimes of
conviction.

21, Defendant and the USAO agree to the following applicable

Sentencing Guidelines factors:

Base Offense Level: 6 [U.S.S.G. § 281.1(a)(2)]

 

Specific Offense
Characteristics

Loss between
$9.5M tO $25M: +20 [U.S.S.G. § ZBl.l(b)(l)(L)]

More than 10 victims: +2 [U.S.S.G. § 281.1(b)(2)(B)]

Federal health care

offense with gov’t

program loss of

between $7M-$20M: +2 [U.S.S.G. § 281.1(b)(7)]

Adjustments

Acceptance of
Responsibility: -3 [U.S.S.G. § 3E1.1]

Total: - ' 27

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The USAO will agree to a two-level downward adjustment for
acceptance of responsibility (and, if applicable, move for an
additional one-level downward adjustment under U.S.S.G. § 3E1.1(b))
only if the conditions set forth in paragraph 6(c) are met. Subject
to paragraph 7 above and paragraph 33 below, and with the exception
of a 2-level downward adjustment under U.S.S.G. § 3Bl.2 - which
defendant reserves the right to seek - defendant and the USAO agree
not to seek, argue, or suggest in any way, either orally or in
»writing, that any other specific offense characteristics,
adjustments, or departures relating to the offense level be imposed.
Defendant agrees, however, that if, after signing this agreement but
prior to sentencing, defendant were to commit an act, or the USAO
were to discover a previously undiscovered act committed by
defendant prior to signing this agreement, which act, in the
judgment of the USAO, constituted obstruction of justice within the
meaning of U.S.S.G. § 3C1 1, the USAO would be free to seek the
enhancement set forth in that section.

22. Defendant understands that there is no agreement as to
defendant's criminal history or criminal history category.

23. Defendant and the USAO reserve the right to argue for a
sentence outside the sentencing range established by the Sentencing
Guidelines based on the factors set forth in 18 U.S.C. § 3553(a)(1),
(a)(Z), (a)(B), (a)(€), and (a)(7).

WAIVER OF CONSTITUTIONAL RIGHTS

 

24. Defendant understands that by pleading guilty, defendant
gives up the following rights:
a) The right to persist in a plea of not guilty.

b) The right to a speedy and public trial by jury.

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c) The right to be represented by counsel - and if
necessary have the court appoint counsel - at trial, Defendant
understands, however, that, defendant retains the right to be
represented by counsel - and if necessary have the court appoint
counsel - at every other stage of the proceeding.

d) The right to be presumed innocent and to have the
burden of proof placed on the government to prove defendant guilty
beyond a reasonable doubt.

e) The right to confront and cross-examine witnesses
against defendant,

f) The right to testify and to present evidence in
opposition to the charges, including the right to compel the
attendance of witnesses to testify,

g) The right not to be compelled to testify, and, if
defendant chose not to testify or present evidence, to have that
choice not be used against defendant,

.h) Any and all rights to pursue any affirmative
defenses, Fourth Amendment or Fifth Amendment claims, and other
pretrial motions that have been filed or could be filed.

WAIVER OF APPEAL OF CONVICTION

 

25. Defendant understands that, with the exception of an
appeal based on a claim that defendant's guilty plea was
involuntary, by pleading guilty defendant is waiving and giving up
any right to appeal defendant's convictions on the offense to which
defendant is pleading guilty.

LIMITED MUTUAL WAIVER OF APPEAL OF SENTENCE

 

26. Defendant agrees that, provided the Court imposes a total

term of imprisonment on the single count of conviction of no more

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than the statutory maximum, defendant gives up the right to appeal
all of the following: (a) the procedures and calculations used to
determine and impose any portion of the sentence; (b) the term of
imprisonment imposed by the Court, provided it is within the
statutory maximum; (c) the fine imposed by the court, provided it is
within the statutory maximum; (d) the amount and terms of any
restitution order, provided it is no greater than $9.5 million;
(e) the term of probation or supervised release imposed by the
Court, provided it is within the statutory maximum; and (f) any of
the following conditions of probation or supervised release imposed
by the Court: the conditions set forth in General Orders 318, 01-05,
and/or 05-02 of this Court; the drug testing conditions mandated by
18 U.S.C. §§ 3563(a)(5) and 3583(d); and the alcohol and drug use
conditions authorized by 18 U.S.C. § 3563(b)(7).

27. The USAO agrees that, provided all portions of the
sentence are at or below the statutory maximum specified above, the
USAO gives up its right to appeal any portion of the sentence.

RESULT OF WITHDRAWAL OF GUILTY PLEA

 

28. Defendant agrees that if, after entering a guilty plea
pursuant to this agreement, defendant seeks to withdraw and succeeds
in withdrawing defendant's guilty plea on any basis other than a
claim and finding that entry into this plea agreement was
involuntary, then (a) the USAO will be relieved of all of its
obligations under this agreement, including in particular its
obligations regarding the use of Cooperation Information; (b) in any
investigation, criminal prosecution, or civil, administrative, or
regulatory action, defendant agrees that any Cooperation Information

and any evidence derived from any Cooperation lnformation shall be

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admissible against defendant, and defendant will not assert, and
hereby waives and gives up, any claim under the United States
Constitution, any statute, or any federal rule, that any Cooperation
Information or any evidence derived from any Cooperation Information
should be suppressed or is inadmissible; and (c) should the USAO
choose to pursue any charge that was not filed as a result of this
agreement, then (i) any applicable statute of limitations will be
tolled between the date of defendant's signing of this agreement and
the filing commencing any such action; and (ii) defendant waives and
ygives up all defenses based on the statute of limitations, any claim
of pre-indictment delay, or any speedy trial claim with respect to
any such action, except to the extent that such defenses existed as
of the date of defendant's signing this agreement.

EFFECTIVE DATE OF AGREEMENT

 

29. This agreement is effective upon signature and execution
of all required certifications by defendant, defendant's counsel,
and an Assistant United States Attorney.

BREACH OF AGREEMENT

 

30. Defendant agrees that if defendant, at any time after the
signature of this agreement and execution of all required
certifications by defendant, defendant's counsel, and an Assistant
United States Attorney, knowingly violates or fails to perform any
of defendant's obligations under this agreement (“a breach”), the
USAO may declare this agreement breached. For example, if defendant
knowingly, in an interview, before a grand jury, or at trial,
falsely accuses another person of criminal conduct or falsely
minimizes defendant's own role, or the role of another, in criminal

conduct, defendant will have breached this agreement. All of

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defendant's obligations are material, a single breach of this
agreement is sufficient for the USAO to declare a breach, and
defendant shall not be deemed to have cured a breach without the
express agreement of the USAO in writing. If the USAO declares this
agreement breached, and the Court finds such a breach to have
occurred, then:

a) If defendant has previously entered a guilty plea
pursuant to this agreement, defendant will not be able to withdraw
the guilty plea.

b) The USAO will be relieved of all its obligations
under this agreement; in particular, the USAO:`(i) will no longer be
bound by any agreements concerning sentencing and will be free to
seek any sentence up to the statutory maximum for the crime to which
defendant has pleaded guilty; (ii) will no longer be bound by any
agreements regarding criminal prosecution, and will be free to
criminally prosecute defendant for any crime, including charges that
the USAO would otherwise have been obligated not to criminally
prosecute pursuant to this agreement; and (iii) will no longer be
bound by any agreement regarding the use of Cooperation Information
and will be free to use any Cooperation lnformation in any way in
any investigation, criminal prosecution, or civil, administrative,
or regulatory action by the United States.

c) The USAO will be free to criminally prosecute
defendant for false statement, obstruction of justice, and perjury
based on any knowingly false or misleading statement by defendant,

d) In any investigation, criminal prosecution, or civil,
administrative, or regulatory action by the United States:

(i) defendant will not assert, and hereby waives and gives up, any

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claim that any Cooperation Information was obtained in violation of
the Fifth Amendment privilege against compelled self-incrimination;y
and (ii) defendant agrees that any Cooperation Information and any
Plea lnformation, as well as any evidence derived from any
Cooperation Information or any Plea lnformation, shall be admissible
against defendant, and defendant will not assert, and hereby waives
and gives up, any claim under the United States Constitution, any
statute, Rule 410 of the Federal Rules of Evidence, Rule ll(f) of
the Federal Rules of Criminal Procedure, or any other federal rule,
that any Cooperation Information, any Plea Information, or any
evidence derived from any Cooperation lnformation or any Plea
Information should be suppressed or is inadmissible.

31. Following the Court’s finding of a knowing breach of this
agreement by defendant, should the USAO choose to pursue any charge
that was not filed as a result of this agreement, then:

a) Defendant agrees that any applicable statute of
limitations is tolled between the date of defendant's signing of
this agreement and the filing commencing any such action.

b) Defendant waives and gives up all defenses based on
the statute of limitations, any claim of pre-indictment delayj or
any speedy trial claim with respect to any such action, except to
the extent that such defenses existed as of the date of defendant's
signing this agreement.

COURT AND PROBATION OFFICE NOT PARTIES

 

32. Defendant understands that the Court and the United States
Probation Office are not parties to this agreement and need not-
accept any of the USAO's sentencing recommendations or the parties'

agreements to facts or sentencing factors.

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33. ‘Defendant understands that both defendant and the USAO are
free to: (a) supplement the facts by supplying relevant information
to the United States Probation Office and the Court, (b) correct any
and all factual misstatements relating to the Court's Sentencing
Guidelines calculations and determination of sentence, and (c) argue
on appeal and collateral review that the Court's Sentencing
Guidelines calculations and the sentence it chooses to impose are
not error, although each party agrees to maintain its view that the
calculations in paragraph 21 are consistent with the facts of this
case. While this paragraph permits both the USAO and defendant to
submit full and complete factual information to the United States
Probation Office and the Court, even if that factual information may
be viewed as inconsistent with the facts agreed to in this
agreement, this paragraph does not affect defendant's and the USAO's
obligations not to contest the facts agreed to in this agreement.

34. Defendant understands that even if the Court ignores any
sentencing recommendation, finds facts or reaches conclusions
different from those agreed to, and/or imposes any sentence up to
the maximum established by statute, defendant cannot, for that
reason, withdraw defendant's guilty plea, and defendant will remain
bound to fulfill all defendant's obligations under this agreement.
Defendant understands that no one can make a binding prediction or
promise regarding the sentence defendant will receive, except that
it will be within the statutory maximum.

NO ADDITIONAL AGREEMENTS

 

35. Defendant understands that, except as set forth herein,
there are no promises, understandings, or agreements between the

USAO and defendant or defendant's attorney, and that no additional

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1 promise, understanding, or agreement may be entered into unless in a
2 writing signed by all parties or on the record in court.

3 PLEA AGREEMENT PART OF THE GUILT! PLEA HEARING

4 36. The parties agree that this agreement will be considered

5 part of the record of defendant's guilty plea hearing as if the

6 entire agreement had been read into the record of the proceeding.

7 AGREED AND ACCEPTED

3 UNITED STATES ATTORNEY’S OFFICE
FOR THE CENTRAL DISTRICT OF CALIFORNIA

EILEEN M. DECKER
10 United States Attorney

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12 JOSHUA M. ROBBINS v Date
13 Assistant United States Attorney

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`LINDA MARTIN mite U
15 Defendant

16 mims ~ 1116/0

17 ANNE HWANG mate l
Attorney for Defendant
18 mqu MARTIN

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CERTIFICATION OF DEEENDANT

I have read this agreement in its entirety. I have had enough
time to review and consider this agreement, and I have carefully and
thoroughly discussed every part of it with my attorneys. I
understand the terms of this agreement; and I voluntarily agree to
those terms. I have discussed the evidence with my attorneys, and
my attorneys have advised me of my rights, of possible pretrial
motions that might be filed. of possible defenses that might be
asserted either prior to or at trial, of the sentencing factors set
forth in 18 U.S.C. § 3553(a), of relevant Sentencing Guidelines
provisions, and of the consequences of entering into this agreement.
No promises, inducements, or representations of any kind have been
made to me other than those contained in this agreement. No one has
threatened or forced me in any way to enter into this agreement. I
am satisfied with the representation of my attorneys in this matter,
and I am pleading guilty because I am guilty of the charges and wish
to take advantage of the promises set forth in this agreement, and

not for any other reason.

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LINDA MARTIN vmate 0
Defendant

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CERTIFICATION OF DEFENDANT’S ATTORNEY

I am Linda Martin's attorney. l have carefully and thoroughly
discussed every part of this agreement with my client. Further, 1
have fully advised my client of her rights, of possible pretrial
motions that might be filed, of possible defenses that might be
asserted either prior to or at trial, of the sentencing factors set
forth in 18 U.S.C. § 3553(a), of relevant Sentencing Guidelines
provisions, and of the consequences of entering into this agreement.
To my knowledge: no promises, inducements, or representations of any
kind have been made to my client other than those contained in this
agreement; no one has threatened or forced my client in any way to
enter into this agreement; my client’s decision to enter into this
agreement is an informed and voluntary one; and the factual basis
set forth in this agreement is sufficient to support my client’s

entry of guilty plea pursuant to this agreement.

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ANNE yHWANG U Date
Attorney for Defendant
LINDA MARTIN

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UNDER SEAL

UNITED`STATES DISTRICT COURT
FOR THE CENTRAL DISIRICT OF CALIFORNIA

SOUTHERN DIVISION

UNITED STATES OF AMERICA, v SA CR NO. 16~
MHMM@ irreararier
v. [18 U.S.C. § 371: Conspiracy]

LINDA MARTIN,

[UNDER SEAL]
Defendant.

 

 

 

 

The United States Attorney charges:

[18 U.S.C. § 371]

A. RELEVANT PERSONS AND ENTITIES

 

At all times relevant to this Information:
l. Healthsmart Pacific Inc., doing business as Pacific

Hospital of Long Beach (“Pacific Hospital”) was a hospital

_located in Long Beach, California, specializing in surgeries,

particularly spinal and orthopedic surgeries, From at least in
or around 1997 to October 2013, Pacific Hospital was owned
and/or operated by Michael D. Drobot (“Drobot”) and other co-

conspirators.

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2. From at least September 2010 to at least February
2013, defendant LINDA MARTIN (“MARTIN”) was a marketer for
Pacific Hospital.

3. International'lmplants LLC (“12”) was a limited,
liability company owned and operated by Drobot, that was located
in Newport Beach, California. 12 purchased implantable medical
devices (“hardware”) for use in spinal surgeries from original

manufacturers and sold them to hospitals, particularly Pacific

 

Hospital.
B. RELEVANT LEGISLATION
4.y The California Workers’ Compensation System (“CWCS”)

was a system created by California law to provide insurance

covering treatment of injury or illness suffered by individuals

yin the course of their employment. Under the CWCS, employers

were required to purchase workers' compensation insurance
policies from insurance carriers to cover their employees. When
an employee suffered a covered injury or illness and received
medical services, the medical service provider submitted a claim
for payment to the relevant insurance carrier, which then paid
the claim. Claims were submitted to and paid by the insurance
carriers either by mail or electronically. The CWCS was
governed by various California laws and regulations.

5. California law, including but not limited to the
California Business and Professions Code, the California
Insurance Code, and the California Labor Code, prohibited the
offering, delivering, soliciting, or receiving of anything of
value in return for referring a patient for medical services.

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6§ Before January 2013, California law allowed a hospital
to bill the cost of medical hardware separately from the other
costs of a surgery, such as the hospital’s and surgeon’s
services, the reimbursement rates of which were set by a fee
schedule. The hardware was considered a “pass-through” cost and
billing was limited to $250 over what the hospital paid for the
hardware.

7. The`Federal Employees' Compensation Act (“FECA”)
provided benefits to civilian employees of the United States,

including United States Postal Service employees, for medical

_expenses and wage*loss disability due to a traumatic injury or

occupational disease sustained while working as a federal
employee. Benefits available to injured employees included
rehabilitation, medical, surgical, hospital, pharmaceutical, and
supplies for treatment of an injury. The Department of Labor `
(“DOL”) - Office of Workers’ Compensation Programs (“OWCP”) was~
the governmental body responsible for administering the FECA.
When a federal employee suffered a covered injury or illness and
received medical services, the medical service provider
submitted a claim for payment by mail or electronically to
Affiliated Computer Services (“ACS”), located in London,
Kentucky, which was contracted with the DOL to handle such
claims. Upon approval of the claim, ACS sent payment by mail or
electronic funds transfer from the U.S. Treasury in
Philadelphia, Pennsylvania to the medical service provider.

8. Federal law prohibited the offering, delivering,

soliciting, or receiving of anything of value in return for

 

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referring a patient for medical services paid for by a federal
health care benefit program.

C.' OBJECTS OF THE CONSPIRACY

 

9. Beginning in or around September 2010, and continuing
to in or around February 2013, in Orange and Los Angeles 0
Counties, within the Central District of California, and
elsewhere, defendant MARTIN, together with others known and
unknown to the United States Attorney, knowingly combined,
conspired, and agreed to commit the following offenses against
the United States: Mail Fraud and Honest Services Mail Fraud,
in_violation of Title 18, United States Code, Sections 1341 and
1346; Use of an Interstate Facility in Aid of Racketeering, in
violation of Title 18, United States Code, Section l952(a)(3);
Monetary Transactions in Property Derived from Specified
Unlawful Activity, in violation of Title 18, United States Code,
Section 1957; and Payment or Receipt of Kickbacks in Connection
with a Federal Health Care Program, in violation of Title 42,
United States Code, Section 1320a-7b(b)(2)(A).

D. MANNER AND MEANS OF THE CONSPIRACY

 

10. The objects of the conspiracy were to be carried out,
and were carried out, in the following ways, among others:

a. Drobot and other co-conspirators offered to pay
kickbacks to doctors, chiropractors, workers' compensation and
personal injury attorneys, marketers, and others for referring
workers' compensation patients to Pacific Hospital for spinal
surgeries and other medical services, to be paid primarily

through the CWCS and the FECA.

 

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br Influenced by the promise of kickbacks, doctors,
chiropractors, workers' compensation and personal injury
attorneys, marketers, and others referred patients insured
through the CWCS and the FECA to Pacific Hospital for spinal
surgeries, other types of surgeries, and other medical servicesi
The workers' compensation patients were not informed that the
medical professionals had been offered kickbacks to induce them
to refer the surgeries and other medical services to Pacific
Hospital.

c. The surgeries and other medical services were
performed on the referred workers' compensation patients at
Pacific Hospital.

d. 12, or another distributor who was a co~
conspirator, purchased medical hardware from a manufacturer and
sold it to Pacific Hospital for use in spinal surgeries,

e. As defendant MARTIN and the other co-conspirators
knew and intended, and as was reasonably foreseeable to them, in
submitting claims for payment, Pacific Hospital made materially
false and misleading statements to, and concealed material
information from, SCIF and other workers' compensation insurance
carriers, including that Pacific Hospital did not disclose to
the insurance carriers that it had offered or paid kickbacks for
the referral of the surgeries and other medical services for
which it was submitting claims.

f. The insurance carriers paid Pacific Hospital's
claims, by mail or electronically.

g. Defendant MARTIN and other co*conspirators

solicited and caused others to pay kickbacks to the doctors,

 

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chiropractors, workers' compensation and personal injury
attorneys, other marketers, and others who had referred patients
to Pacific Hospital for surgeries and other medical services.
The kickback recipients included, among others, various
surgeons, other doctors, chiropractors; other marketers, and
attorneys.

h. To conceal the nature of the kickback payments
from both workers' compensation insurance carriers and patients,
Drobot and his co-conspirators, through one of the companies
Drobot owned and/or operated, entered into bogus contracts with
the doctors, chiropractors, workers' compensation and personal
injury attorneys, marketers, and others. The services discussed
in those contracts were provided at highly inflated prices, if
they were provided at all. In reality, the compensation paid
was based on the number and type of surgeries and other medical
services referred to Pacific Hospital. Defendant MARTIN helped
Drobot and other co~conspirators to establish and maintain
kickback relationships disguised under various agreements.

i. For example, under a lease agreement, PSPM or
Pacific Hospital would lease or sublease office space from a
doctor, but use little or none of the space for their own
activities. Similarly, under a management agreement, PSPM
assumed financial responsibility for a doctor's office expenses
and paid a doctor a fixed percentage of the total amounts
collected from insurance for his services, in return for the

right to keep the rest of those insurance proceeds as its

'purported management fee. However, PSPM typically lost money on

these arrangements, because the amounts it paid the doctors were

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more than the net insurance proceeds; In reality, the payments
made to doctors under these agreements were rewards for 0
referring patients to Pacific Hospital.

j. Defendant MARTIN and other co»conspirators kept
records of the number of surgeries and other medical services
performed at Pacific Hospital due to referrals from the kickback
recipients, as well as amounts paid to the kickback recipients
for those referrals. Periodically, Drobot and other co-
conspirators amended the bogus contracts with the kickback
recipients to increase or decrease the amount of agreed
compensation described in the contracts, in order to match the
amount of kickbacks paid or promised in return for referrals.

E. EFFECTS OF THE CONSPIRACY

 

11. Had SCIF and the other workers’compensation insurance
carriers known the true facts regarding the payment of kickbacks
for the referral of workers' compensation patients for surgeries
and other medical services performed at Pacific Hospital, they
would not have paid the claims or would have paid a lesser
amount.

12, From in or around September 2010 to in or around
February 2013, Pacific Hospital billed workers' compensation
insurance carriers approximately $255 million in claims for
spinal surgeries that were the result of the payment of a
kickback; and defendant MARTIN or other co-conspirators paid
kickback recipients between approximately $9.5 million and $25

million in kickbacks relating to those claims.

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F. OVERT ACTS

13. On or about the following dates, in furtherance of the
conspiracy and to accomplish the objects of the conspiracy,
defendant MARTIN and other co-conspirators known and unknown to
the United States Attorney, committed various overt acts within
the Central District of California, including, but not limited
to, the following:

0vert Act No. l: On or about September 21, 2010,
defendant MARTIN, on behalf of her company Orchid Medical
Management, Inc. (“Orchid”), and Attorney A, on behalf of
HealthSmart Corporate, entered into a contract under which
HealthSmart Corporate would pay Orchid $12,500 per month for
consulting and business development services.

Overt Act No. 2: On or about December 15, 2010,
defendant MARTIN sent to Drobot an email offering to introduce
him to Chiropractor A, who was willing to enter into a
management agreement with Drobot and refer patients to doctors
chosen by Drobot, and also reporting that Doctor A had scheduled
a spine surgery at Pacific Hospital.

Overt Act No. 3: On or about December 17, 2010,
defendant MARTIN sent to Drobot an email offering to introduce
him to Physical Therapist A, who managed surgeons' practices and
who was willing to refer patients to Pacific Hospital for
surgeries in return for payments,

Overt Act No. 4: On or about April 12, 2011, defendant
sent to Attorney A an email forwarding a list of patients
referred to Pacific Hospital by Doctor B, and suggesting that

Drobot switch from paying doctors in advance for surgery

 

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referrals to paying them only after they provided documentation
that the referral took place.

Overt Act No. 5: On or about May 25, 2011, Drobot
increased defendant MARTIN's monthly salary for her marketing

services from $12,500 per month to $15,000 per month.

EILEEN M. DECKER
United States Attorney

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LA RE E S. MID- TON

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Chief, Criminal Division

  

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